                   Exhibit A




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                        UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF WISCONSIN


Donald J. Trump, Candidate for President of the
United States of America,                            Case No. 20-cv-01785-BHL

                        Plaintiff,

        v.

The Wisconsin Elections Commission, and its
members, Ann S. Jacobs, Mark L. Thomsen,
Marge Bostelman, Dean Knudson, Robert F.
Spindell, Jr., in their official capacities, Scott
McDonnell in his official capacity as the Dane
County Clerk, George L. Christenson in his
official capacity as the Milwaukee County
Clerk, Julietta Henry in her official capacity as
the Milwaukee Election Director, Claire
Woodall-Vogg in her official capacity as the
Executive Director of the Milwaukee Election
Commission, Mayor Tom Barrett, Jim
Owczarski, Mayor Satya Rhodes-Conway,
Maribeth Witzel-Behl, Mayor Cory Mason,
Tara Coolidge, Mayor John Antaramian, Matt
Krauter, Mayor Eric Genrich, Kris Teske, in
their official Capacities, Douglas J. LaFollette,
Wisconsin Secretary of State, in his official
capacity, and Tony Evers, Governor of
Wisconsin, in his Official capacity,

                        Defendants.


             AMICUS BRIEF OF THE CENTER FOR TECH AND CIVIC LIFE




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                                           Introduction

       Plaintiff alleges that The Center for Tech and Civic Life (CTCL) engaged in a nefarious

partisan effort to induce violations of Wisconsin election law. See Compl. ¶¶ 169-73, 218-34 &

288-95. That is wrong and arises from a grievous misrepresentation of CTCL’s COVID-19

Response Grant Program. This amicus brief explains CTCL’s program, which made grants

available on a strictly nonpartisan basis to local election departments nationwide to help

administer the election amid the pandemic. CTCL provided a grant to every single local election

department that applied—over 2500 counties, cities, towns, and villages across the country

(including 221 in Wisconsin). Most of those funds were used to purchase personal protective

equipment for voters and election workers, to recruit and train additional staff, to provide

improved security, to establish in-person polling places, to process mail-in ballots, and to ensure

emergency preparedness. CTCL’s program thus helped officials throughout the nation to run

secure, lawful, and efficient elections for all Americans.

       Notably, this is not the first time this Court has reviewed the legality of CTCL’s program.

Just two months ago, Wisconsin Voters Alliance sued the Cities of Racine, Kenosha, Green Bay,

Madison, and Milwaukee for using CTCL’s grants, alleging a host of state and federal claims

and asserting that CTCL had a partisan agenda. Judge Griesbach rejected those arguments,

denying a temporary restraining order and then a preliminary injunction on the ground that the

Wisconsin Voters Alliance was not likely to succeed on the merits. When the Wisconsin Voters

Alliance sought relief pending appeal, Chief Judge Sykes and Judges Flaum and Easterbrook of

the United States Court of Appeals for the Seventh Circuit—followed by Justice Kavanaugh of

the United States Supreme Court—rejected those petitions.

       This brief recounts that litigation. It also describes seven other federal lawsuits

challenging the legality of CTCL’s grant program in other states, all of which have failed.


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Finally, the brief describes the failed attempt to convince the Wisconsin Supreme Court to

overturn the State’s election results due, in part, to alleged misconduct related to CTCL funding.

At this point, eight federal district judges, nine federal circuit judges, two U.S. Supreme Court

Justices, and a majority of Justices of the Wisconsin Supreme Court have rejected motions

premised on allegations of impropriety or illegality in the operation of CTCL’s grant program.

Those rulings underscore the error of Plaintiff’s contentions here.

                                                   Argument

I.          CTCL’S COVID-19 RESPONSE GRANTS HAVE BEEN PROVIDED ON A
            STRICTLY NON-PARTISAN BASIS TO OVER 2500 CITIES AND COUNTIES

            CTCL is a nonpartisan, non-profit organization whose mission is to promote civic

engagement and the modernization of election administration procedures.1 Consistent with that

mission, CTCL’s leadership is bipartisan and its Board of Directors and Advisory Committee

consist primarily of individuals—including elected election administrators from both major

political parties—who have dedicated their careers to nonpartisan election administration.2

CTCL’s team also includes civic technologists, trainers, researchers, and election administration

and data experts working to foster a more informed and engaged democracy.3 Since CTCL’s

founding in 2014, it has worked closely with local election officials across the country—and

particularly in smaller jurisdictions with limited personnel—to enable them to more effectively

serve voters in their communities.4 To that end, it has connected election officials with tools and



1 The facts in this section are based on CTCL’s publicly accessible website.

2 See CTCL, Board of Directors, https://www.techandciviclife.org/board-of-directors/ (“The work of CTCL benefits
from the expertise and support provided by a distinguished and diverse board of directors.”); CTCL, Advisory
Committee, https://www.techandciviclife.org/advisory-committee/ (“CTCL’s Advisory Committee is made up of
some of the most experienced, thoughtful election professionals in the United States.”).
3 See CTCL, Our Story, https://www.techandciviclife.org/our-story/.

4 See id.



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trainings, identified best practices, created easy-to-use resources for election administrators,

promoted infrastructure to better deliver information about elections, and developed the

cybersecurity purchased by the federal government to prepare local election departments to

protect voting systems from attack.5

            In 2020, CTCL recognized that election administrators nationwide faced unprecedented

challenges in adapting to the pandemic.6 Many of these challenges were exacerbated by funding

shortfalls. For example, election offices needed funds to cover personal protective equipment,

election worker recruitment and training, and absentee voting equipment and supplies.7 Federal

and state funding offered some relief but came nowhere close to offsetting the cost of running an

election during the pandemic.8

            To fill that need, CTCL created a COVID-19 Response Grant Program. This nationwide

charitable grant program offered funding to help local officials adopt safe and efficient voting

procedures.9 CTCL’s grants were available on a nondiscriminatory basis to any local election

department that chose to apply—rural, urban, or suburban; politically red, blue, or purple—

anywhere in the country.10 CTCL guaranteed every applicant (even the most sparsely populated

jurisdictions) a minimum of $5,000 and publicly committed to approving every eligible local


5 See CTCL, Election Officials, https://www.techandciviclife.org/our-work/election-officials/ (“We help election
officials adopt the tools and skills necessary to meet the changing needs of today’s public.”); see also U.S. Election
Assistance Comm’n, U.S. Election Assistance Commission Offers No-Cost Online Cybersecurity Training For
Election Officials, June 22, 2020, https://www.eac.gov/news/2020/06/22/us-election-assistance-commission-offers-
no-cost-online-cybersecurity-training.
6 See CTCL, CTCL Program Awards Over 2,500 COVID-19 Response Grants, Oct. 29, 2020,
https://www.techandciviclife.org/grant-awards/.
7 See id.

8 See CTCL, A First Look at CTCL Grant Program Impact, Nov. 13, 2020, https://www.techandciviclife.org/grant-
update-november/.
9 See id.

10 See id.



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election department that applied, subject only to verification that the applicant was legitimate.11

Thus, applicants were asked only for basic information such as the number of registered voters

and their existing budgets. No partisan criteria were requested or even communicated to CTCL

(much less considered in awarding grants).12 CTCL provided grants with the expectation that

they would be used for lawful election administration purposes as determined by local officials;

therefore, CTCL imposed minimal conditions on the acceptance of grants and instead focused

principally on ensuring that grants were actually used for election administration (rather than

some other purpose).

         As the following map reflects, over 2500 cities, counties, towns, and villages across the

United States applied for and received CTCL grants13:




11 See CTCL, CTCL Grant Program Receives Over 2,100 Applications and Counting, Oct. 8, 2020,
https://www.techandciviclife.org/grant-update-october/.
12 See id.

13 See CTCL Program Awards Over 2,500 COVID-19 Response Grants.



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         That figure includes 221 jurisdictions in Wisconsin. See Appendix A (listing recipients

in Wisconsin).14 It also includes jurisdictions of all population sizes, as summarized by this

graph published after 2,100 election offices had applied15:




         The election offices that applied for CTCL grants identified a range of anticipated uses.

The most common anticipated expenses included purchasing personal protective equipment,

providing poll worker recruitment and training, ensuring sufficient temporary staffing, and

obtaining mail/absentee equipment and supplies.16

         Those expectations matched reality. CTCL’s published initial analysis includes the

following conclusions17:

         • Staffing: “[E]lection offices overwhelmingly spent grant funds on hiring
           additional workers, incentivizing workers with hazard pay, and compensating
           overtime work. . . . To replace veteran poll workers, jurisdictions used grant

14 CTCL, Grants Awarded: CTCL COVID-19 Response Grant Program,
https://docs.google.com/spreadsheets/d/1E7P3owIO6UlpMY1GaeE8nJVw2x6Ee-
iI9d37hEEr5ZA/edit#gid=1993755695 (listing all grantees in United States) (last visited Dec. 8, 2020).
15 See CTCL Grant Program Receives Over 2,100 Applications and Counting.

16 See id.

17 See generally A First Look at CTCL Grant Program Impact.



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           funds to hire recruiters, launch recruitment advertising campaigns, and
           incentivize workers with hazard pay. . . . Many jurisdictions [also] used the
           funding to pay temporary workers to process a drastic increase in vote-by-
           mail.”

       • Safety: “Grant funds went toward personal protective equipment like face
         masks, face shields, and latex gloves — sometimes even enough to offer
         voters PPE, not just poll workers. Funds went toward hand sanitizer,
         disinfectant, sterilizing wipes . . . bleach and paper towels, sterilizing wands,
         electrostatic sprayers, sneeze guards, plexiglass screens, air purifiers, and
         thermal temperature stations.”

       • COVID-19 Testing: “Despite all the safety precautions, serving as an election
         worker included some amount of health risk. This led many jurisdictions to
         offer hazard pay, and at least a few offices used grant funds to pay for
         COVID-19 testing for poll workers after the election.”

       • Accessibility: “Several offices used [funds] to ensure that accessibility wasn’t
         sacrificed during the pandemic. This ranged from big-ticket items, like ADA-
         compliant voting machines, to smaller purchases, like chairs.”

       • Equipment: “Voter behavior shifted toward mail voting even in counties that
         did not actively promote the option. Processing mail ballots at scale takes
         substantial infrastructure that many jurisdictions did not have before the grant
         program. Grant funds went toward mail processing equipment like ballot
         printers, folding machines, inserters, label makers, postage machines, sorting
         machines, barcode scanners, machines with signature verification software,
         envelope joggers, letter-opening machines, high-speed scanners,
         counting/tabulation machines, and more.”

       • Security: “Some offices made renovations like securing the doors to their
         election offices and warehouses, in order to accommodate the new need to
         store a large volume of returned mail ballots. Others bought ballot safes,
         tamper-proof security seals, security cameras, etc.”

       • Emergency Preparedness: “Some jurisdictions spent funds on emergency
         preparedness measures, especially electricity generators. Western offices
         worried about wildfires and public power shutoffs, northern offices worried
         about snowstorms, and rural offices worried about everything. . . . generators
         were needed to power creative polling places, like outdoor tents and mobile
         voting centers.”

       As this publicly available information shows, the CTCL COVID-19 Response Grant

Program did a lot of good in many communities across the country—and across Wisconsin

(extending to 221 jurisdictions, rather than the mere handful discussed by Plaintiff). CTCL is


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proud to have played a role in supporting election officials nationwide who worked hard to

ensure fair, secure, and efficient elections for Americans from all walks of life and all political

backgrounds.

II.    EVERY COURT TO CONSIDER THE ISSUE HAS REJECTED CHALLENGES
       TO THE LEGALITY OF CTCL’S GRANTS

       This is not the first suit asserting that CTCL’s COVID-19 Response Grant Program is an

unlawful partisan conspiracy. Litigants in multiple jurisdictions have filed eight federal lawsuits

over the past two months aimed at acceptance and use of CTCL grants. Every single judge to

consider those lawsuits has deemed them meritless or otherwise denied any relief. That includes

eight federal district judges, three unanimous federal appellate panels, and two Justices of the

United States Supreme Court. This judicial consensus undermines Petitioners’ suggestion that

there is anything untoward, unlawful, or partisan about CTCL’s nationwide grant program.

       In fact, this Court has already issued decisive rulings in a lawsuit challenging the receipt

of CTCL’s grants. On September 24, 2020 the Wisconsin Voters Alliance (“WVA”) sued the

Cities of Racine, Milwaukee, Kenosha, Green Bay, and Madison for accepting CTCL grants.

See Wis. Voters All. v. City of Racine, No. 20-CV-1487 (E.D. Wis.). There, WVA alleged that

the CTCL program was “targeted . . . overwhelmingly” to “progressive” cities and counties, in

violation of the United States Constitution, several federal laws, and Wisconsin Statutes § 12.11.

See id., Compl., Dkt. 1. On this basis, WVA sought emergency relief to block acceptance or use

of the grants. See id., Mot. for TRO, Dkt. 2.

       Following oral argument, Judge Griesbach denied a TRO on the ground that the WVA

was not likely to succeed on the merits of its claims. See Wis. Voters All. v. City of Racine, No.

20-CV-1487, 2020 WL 6129510, at *2 (E.D. Wis. Oct. 14, 2020). He concluded that “Plaintiffs

have presented at most a policy argument for prohibiting municipalities from accepting funds



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from private parties to help pay the increased costs of conducting safe and efficient elections.”

Id. He added that, whatever the risk of skewing an election through selective funding, “[t]he

record before the Court . . . does not provide the support needed for the Court to make such a

determination, especially in light of the fact that over 100 additional Wisconsin municipalities

received grants as well.” Id. Finally, he held that “the Court finds nothing in the statutes

Plaintiffs cite, either directly or indirectly, that can be fairly construed as prohibiting the

defendant Cities from accepting funds from CTCL.” Id.

        After Judge Griesbach issued his ruling, WVA moved for a preliminary injunction. See

Wis. Voters All., No. 20-CV-1487, Dkt. 31. Judge Griesbach denied that motion, too. See id.,

Dkt. 37.

        Meanwhile, WVA filed a motion for an injunction pending appeal with the United States

Court of Appeals for the Seventh Circuit. See Wis. Voters All. v. City of Racine, No. 20-3002

(7th Cir. Oct. 16, 2020), Dkt. 1. That same day—in fact, just a few hours later—Chief Judge

Sykes and Judges Flaum and Easterbrook unanimously denied the motion. Undaunted, WVA

took its case to the United States Supreme Court, where it filed a motion for an injunction

pending appeal. See Wis. Voters All. v. City of Racine, No. 20A75 (U.S. Oct. 28, 2020). On

October 29, 2020, Justice Kavanaugh denied that motion outright.

        Thus, even before Election Day, this Court vetted claims substantially similar to those

presented by Plaintiff in this action and found them to be without merit. Justice Kavanaugh,

Chief Circuit Judge Sykes, and Circuit Judges Easterbrook and Flaum upheld this Court’s ruling.

That is no coincidence. It reflects the errors in the claims pressed by Plaintiff.

        And that litigation was only the tip of the iceberg. The same counsel who represented

WVA before this Court also took their claims on the road, filing cases in Michigan, Minnesota,




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Iowa, Pennsylvania, South Carolina, Georgia, and Texas challenging the CTCL grant program.

In each case, the court denied motions for a TRO and/or a preliminary injunction. See Ga. Voter

All. v. Fulton Cnty., No. 20-CV-4198, 2020 WL 6589655 (N.D. Ga. Oct. 28, 2020), Dkt. 18; S.C.

Voter’s All. v. Charleston Cnty., No. 20-CV-3710 (D.S.C. Oct. 26, 2020), Dkt. 5; Pa. Voters All.

v Centre Cnty., No. 20-CV-1761, 2020 WL 6158309 (M.D. Pa. Oct. 21, 2020), Dkt. 75; Iowa

Voter All. v. Black Hawk Cnty., No. 20-CV-2078, 2020 WL 6151559 (N.D. Iowa Oct. 20, 2020),

Dkt. 23; Election Integrity Fund v. City of Lansing, No. 20-CV-950, 2020 WL 6605987 (W.D.

Mich. Oct. 19, 2020), Dkt. 19; Tex. Voters All. v. Dallas Cnty., No. 20-CV-775, 2020 WL

6146248 (E.D. Tex. Oct. 20, 2020), Dkt. 28; Minn. Voters All. v. City of Minneapolis, No. 20-

CV-2049, 2020 WL 6119937 (D. Minn. Oct. 16, 2020), Dkt. 25.

       In several of these cases, moreover, courts rejected versions of the same unsupported

partisan targeting theories about CTCL that Plaintiff alleges here. See, e.g., Pa. Voters All., 2020

WL 6158309, at *6 (“Defendants have used CTCL funding in a nonpartisan way to facilitate the

upcoming election….”); Ga. Voter All., 2020 WL 6589655, at *5 (“Plaintiffs have failed to plead

or argue that Fulton County was favored over ostensible Georgia counties that were

conservative, deserved grant money, and did not receive it.”); Tex. Voters All., 2020 WL

6146248, at *18 (“CTCL grants are nonpartisan and guaranteed to any municipality that meets

minimum criteria . . . 88% of Texas counties that received grants voted for the Republican

presidential candidate in 2016.”).

       In the Pennsylvania and Michigan federal cases, the plaintiffs sought emergency

appellate injunctions. The Third and Sixth Circuits unanimously denied relief. See Election

Integrity Fund v. City of Lansing, No. 20-2048 (6th Cir. Oct. 30, 2020) (Stranch, Bush, Murphy,

JJ.), Dkt. 10; Pa. Voters All. v. Centre Cnty., No. 20-3175 (3d Cir. Oct. 28, 2020) (Ambro,




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Greenaway, Bibas, JJ.), Dkt. 20. When the Pennsylvania plaintiffs asked Justice Alito to

intervene, he followed Justice Kavanaugh in denying relief without even calling for a response.

See Pa. Voters All. v. Centre Cnty., No. 20A82 (U.S. Nov. 3, 2020) (application for injunction

denied).

          Finally, on November 21, 2020, WVA filed a petition for original action before the

Wisconsin Supreme Court. In its petition, WVA raised the same theories Plaintiff does here

regarding CTCL’s COVID-19 Response Grants to the Cities of Madison, Green Bay, Racine,

Kenosha, and Milwaukee. The Wisconsin Supreme Court denied WVA’s petition.18 In his

concurrence in support of the Court’s decision to deny the petition, Justice Hagedorn stated that

the “petition f[ell] far short of the kind of compelling evidence and legal support we would

undoubtedly need to countenance the court-ordered disenfranchisement of every Wisconsin

voter.”19 Later, Justice Hagedorn went further in his criticism of WVA’s claims and requests:

                   Something far more fundamental than the winner of Wisconsin’s
                   electoral votes is implicated in this case. At stake, in some
                   measure, is faith in our system of free and fair elections, a feature
                   central to the enduring strength of our constitutional republic. It
                   can be easy to blithely move on to the next case with a petition so
                   obviously lacking, but this is sobering. The relief being sought by
                   the petitioners is the most dramatic invocation of judicial power I
                   have ever seen. Judicial acquiescence to such entreaties built on so
                   flimsy a foundation would do indelible damage to every future
                   election. Once the door is opened to judicial invalidation of
                   presidential election results, it will be awfully hard to close that
                   door again. This is a dangerous path we are being asked to tread.
                   The loss of public trust in our constitutional order resulting from
                   the exercise of this kind of judicial power would be incalculable.20



18 For a copy of the order denying WVA’s petition for original action, see Wis. Voters All. v. Wis. Elections
Comm’n, No. 2020AP1930-OA (Wis. Dec. 4, 2020),
http://www.thewheelerreport.com/wheeler_docs/files/120420wscwva.pdf.
19 See id. at 2.

20 Id. at 3.



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                                            Conclusion

         There is a clear moral to this story. After months of litigation—and despite the

opportunity to present their cases to nineteen judges—those challenging the validity of CTCL’s

grants have failed to persuade anyone of their claim that CTCL is somehow involved in an

unlawful effort to undermine the integrity of the election. That is because there is no truth to that

offensive allegation (and no evidence supporting it). CTCL’s COVID-19 Response Grant

Program is exactly what it appears to be: a nationwide effort by nonpartisan, nonprofit election

administration experts to assist local officials in over 2500 jurisdictions as they conducted an

election amid unprecedented challenges. To the extent Plaintiff rests its case upon accusations

aimed at CTCL (or individuals who helped to fund its grant program), those attacks are

unfounded and demonstrate the error of its position.

Dated this 8th day of December, 2020.

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                                 APPENDIX A

Jurisdictions In Wisconsin That Received Grants From The CTCL COVID-19 Response
                                   Grant Program

                                    Cities

                                  Abbotsford
                                    Altoona
                                     Amery
                                     Antigo
                                   Appleton
                                     Barron
                                     Beloit
                                   Brodhead
                                  Brookfield
                                     Chetek
                                    Chilton
                                   Plymouth
                                     Colby
                                  Cuba City
                                   Delafield
                                  Eau Claire
                                   Edgerton
                                   Fitchburg
                                 Fond du Lac
                                 Fort Atkinson
                                  Green Bay
                                    Hudson
                                   Janesville
                                    Kenosha
                                  Kewaunee
                                  Lake Mills
                                   Lancaster
                                    Madison
                                   Marathon
                                   Marinette
                                  Marshfield
                                   Menasha
                                     Milton
                                  Milwaukee
                                    Monona
                                    Mosinee
                                    Niagara
                                     Omro
                                    Peshtigo



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                             Pittsville
                             Platteville
                              Racine
                             Rice Lake
                            River Falls
                             Schofield
                            Sun Prairie
                            Two Rivers
                            Waukesha
                              Wausau
                            West Allis

                             Counties

                             Marathon

                              Towns

                               Amberg
                              Athelstane
                               Aztalan
                                Beaver
                                Beaver
                               Beecher
                               Beetown
                               Beetown
                               Bennett
                                Bergen
                                Berlin
                                 Bern
                                Bevent
                               Brazeau
                     Brighton (Marathon County)
                             Brothertown
                                 Brule
                               Calumet
                                Cassel
                                Chetek
                               Chilton
                              Cleveland
                               Clinton
                                Dodge
                               Dunbar
                      Eagle (Waukesha County)
                                Easton
                              Eau Pleine



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                      Emmet, Marathon County
                              Evergreen
                             Farmington
                      Forest (Richland County)
                              Frankfort
                               Franzen
                               Freedom
                              Friendship
                                Fulton
                               Genesee
                                Gillett
                              Goodman
                            Green Valley
                              Greenbush
                                Grover
                               Guenther
                                Halsey
                     Hamburg, Marathon County
                              Hamilton
                     Harrison (Calumet County)
                     Harrison (Lincoln County)
                            Hazel Green
                                Hewitt
                                Holton
                                 Hull
                                Ixonia
                               Johnson
                              Knowlton
                              La Prairie
                                 Lake
                              Lake Mills
                              Lawrence
                                Liberty
                                 Lima
                                Lisbon
                             Little River
                              Long Lake
                            Maple Grove
                              Marathon
                               Marshall
                               Marshall
                              McMillan
                               Medina
                              Metomen
                                Milton
                               Morgan



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                             Morrison
                             Mosinee
                          Mount Hope
                            Mountain
                              Norrie
                             Oakland
                              of Day
                             Onalaska
                              Ottawa
                             Palmyra
                               Paris
                             Pembine
                               Perry
                             Peshtigo
                             Pittsfield
                              Plover
                            Plymouth
                            Porterfield
                              Pound
                           Prairie Lake
                           Red Springs
                               Reid
                              Rhine
                             Rib Falls
                          Rib Mountain
                            Rice Lake
                            Rietbrock
                              Ringle
                            Riverview
                               Rock
                           Rush River
                         Sheboygan Falls
                           Silver Cliff
                             Spencer
                           Springfield
                             Stanfold
                              Stettin
                             Superior
                           Taycheedah
                              Texas
                               Troy
                              Turtle
                             Wausau
                             Weston
                             Westport
                               Wien



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                    Wrightstown (Brown County)

                             Villages

                              Athens
                               Biron
                           Black Earth
                            Cambridge
                          Campbellsport
                            Clear Lake
                              Clinton
                             Coleman
                          Cottage Grove
                              Crivitz
                           Dickeyville
                               Edgar
                              Elderon
                           Elkhart Lake
                             Endeavor
                               Ettrick
                             Fenwood
                             Footville
                            Hammond
                               Hatley
                           Hazel Green
                            Iron Ridge
                             Kekoskee
                          Kronenwetter
                                Luck
                               Maine
                            McFarland
                              Minong
                             Montfort
                             Oakfield
                              Ontario
                              Osceola
                              Palmyra
                               Pound
                            Readstown
                             Rockland
                            Rothschild
                          Solon Springs
                              Spencer
                             Stratford
                             Superior
                             Tennyson



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                           Turtle Lake
                             Unity
                             Waldo
                           Waunakee
                           Wausaukee
                            Weston
                             Wilton




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